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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 DIANA REYNOLDS and SANDRA HIGH,
 individually and on behalf of all others
 similarly situated,                                  Case No. 17-cv-00170

                        Plaintiffs,                   Hon. John J. Tharp, Jr.
                                                      Magistrate Judge Young B. Kim
 v.

 CHW GROUP, INC., d/b/a Choice Home
 Warranty, a New Jersey corporation,

                        Defendant.



                                      JOINT STATUS REPORT

         Plaintiffs Diana Reynolds (“Reynolds”) and Sandra High (“High”) (collectively

“Plaintiffs”) and Defendant CHW Group, Inc. d/b/a Choice Home Warranty (“CHW” or

“Defendant”) submit this Joint Status Report in advance of the March 20, 2018 Status Conference.

I.       BACKGROUND AND PROCEDURAL HISTORY

         Plaintiffs filed their complaint on January 10, 2017 alleging that Defendant violated the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), and its implementing

regulations, 47 C.F.R. §64.1200, et seq., by placing calls to Plaintiffs’ cellular telephones, using

an automatic telephone dialing system (“ATDS”) without prior express consent. (See Dkt. 1, the

“Complaint”). Based on the same conduct, Plaintiffs further allege that Defendant violated the

National Do Not Call Registry regulations and related Illinois and Oregon state telemarketing laws.

(Id.)

         Specifically, Plaintiff Reynolds alleges that she revoked any consent to be contacted by

CHW and that CHW subsequently contacted her. (Id. ¶ 30). Plaintiff High alleges in the Complaint

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that she never consented to be called. (Id. ¶ 37). CHW claims that its records show that Plaintiff

High did, in fact, provide express written consent. Both Plaintiffs seek to certify separate classes

of similarly situated individuals. (Id. ¶¶ 89, 96, 104).

       On April 7, 2017, Defendant filed its answer and affirmative defenses to the Complaint.

(See Dkt. 15, the “Answer”). Shortly thereafter, on April 27, 2017, CHW filed a motion to set a

briefing schedule regarding its anticipated motion to stay (Dkt. 27), which the Court granted the

next day (Dkt. 28). On May 26, 2017, CHW filed a motion to stay the action pending a ruling by

the D.C. Circuit Court of Appeals in ACA International v. FCC, No. 15-1211 (“ACA

International”) (Dkt. 30). That motion was fully briefed on July 14, 2017. The Court denied it on

November 1, 2017, and scheduled a status hearing for November 15, 2017. (Dkt. 37). At the status

hearing, Judge Tharp ordered that the Parties exchange Rule 26(a)(1) disclosures by November

29, 2017 and referred the case to Magistrate Judge Kim for discovery scheduling and supervision.

       On November 20, 2017, the Court issued the following written discovery schedule:

        (1) exchange Rule 26(a)(1) disclosures by November 29, 2017, (R. 43); (2) serve
       written discovery requests by December 11, 2017; (3) serve answers to written
       discovery requests by January 15, 2018; and (4) confer about the adequacy of the
       discovery responses by January 26, 2018. If requests for production of documents
       are served, the responding party must produce or give access to the responsive
       documents by January 15, 2018, along with a privilege log if responsive
       documents are withheld. A boilerplate response that the party will produce
       responsive documents at a later time is not acceptable under Rule 34. Also the
       court will not consider general objections to written discovery requests if the court
       must address and rule on written discovery disputes. Parties are to file a joint
       status report identifying each side's written discovery issues, if any, along with
       the relevant written discovery responses as exhibits by February 2, 2018. If the
       parties do not have any disputed written discovery issues, a status report is not
       required. A status hearing is scheduled for February 7, 2018, at 11:00 a.m. in
       courtroom 1019 to discuss the written discovery issues identified and anticipated
       oral discovery. If the parties are interested in exploring settlement options with
       the assistance of this court or to simply have a settlement conference scheduled
       on the court's calendar (subject to cancellation upon request), they may jointly call
       the court to schedule a conference. The court is now scheduling matters for
       settlement conferences in March 2018.

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(Dkt. 45.) On January 24, 2018, the parties agreed to request an extension of time to complete the

discovery deadlines set forth by the Court. (Dkt. 47). The Court granted that extension request on

January 25, 2018. (Dkt. 48.)

         On February 22, 2018, CHW filed a motion for a two-week extension of time due to an

unforeseen medical emergency concerning one of Defendant’s counsel’s immediate family

members. (Dkt. 51.) The Court granted the request and adjusted the deadlines for the Parties to:

(1) confer about the adequacy of the discovery responses by March 9, 2018; (2) file a joint status

report identifying each side’s written discovery issues, if any, along with the relevant written

discovery responses as exhibits by March 16, 2018; and (3) set a status hearing for March 20, 2018

at 11:00 a.m. (Dkt. 52.)

         The Parties have exchanged responses to interrogatories and document requests and have

met and conferred in accordance with the Court’s orders. The parties believe that there are

disagreements on which they remain at issue and therefore require a determination by the Court.

II.      DISCOVERY DISPUTES

         During the initial meet-and-confer on March 9, 2018, both Plaintiffs and Defendant agreed

to serve supplemental discovery responses to cure certain issues that presently appear to be

fixable/addressable. With respect to these issues, the parties have agreed that they will review the

supplemental responses and conduct a subsequent meet-and-confer in a timely fashion to

determine whether the identified defects have been cured or whether the Court’s involvement will

be necessary. In the meantime, however, the parties were also able to confirm at the meet-and-

confer that, with respect to certain other issues set forth below, an impasse has been reached, and

the parties are unable to resolve their disputes absent the Court’s involvement. The parties Written

Discovery Requests and Responses are attached hereto as Group Exhibit A.

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          A.      PLAINTIFF'S POSITION

          In Plaintiffs' view, CHW has failed to take its discovery obligations seriously. Over a year

has passed since the filing of the case and CHW has yet to provide any information needed to

identify potential class members at all. Instead, CHW (and its counsel) have repeatedly delayed

providing any responses only to eventually offer seriously misplaced objections. Plaintiffs'

counsel specified the deficiencies in CHW’s written discovery responses and document

production. See “Plaintiff’s February 22, 2018 Discovery Dispute Letter,” attached hereto as

Exhibit B. As set forth above, CHW has agreed to attempt to resolve certain of those deficiencies1

via supplemental responses, and Plaintiffs reserve the right to bring such deficiencies to the Court’s

attention should CHW's supplemental responses remain deficient. With respect to other discovery,

however, particularly discovery needed to identify class members, CHW’s deficiencies are ripe

for Court resolution.

                  1.     CHW’s refusal to produce information and documents necessary to
                         identify Class members (I.e., Interrogatories Nos. 4, 6, 7, 14, 17;
                         Requests to Produce Nos. 4, 5, 6, 7, 15, 24, and 33)

          The first group of critical information and documents that CHW has refused to provide

relates to information Plaintiffs need to identify potential Class members. This includes requests

seeking the identity of persons called where CHW obtained the persons’ leads from the same

source—CHW’s website2—as the leads that provided information about the Plaintiffs (Rog No. 4;

RTP No. 4 and No. 33), which of those persons were called on their cellphones (Rog No. 6), the

identity of all persons whose leads came from the same source as Plaintiffs’ leads who were called



1
  Such deficiencies include, inter alia, CHW's failure to, as required by this Court's Order of
November 20, 2017, provide a privilege log or to produce documents (as opposed to a statement
that documents would be produced at some point in the future).
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    Plaintiff alleges that the consent CHW relies on from its website is fatally deficient.
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for the same purpose and using the same dialing equipment as the equipment used to call Plaintiffs

(Rog No. 14 and No. 17; RTP No. 15), and the identity of persons called at least once more than

30 days after telling CHW to stop calling (RTP No. 24).

        CHW has produced a total of seven pages of documents thus far—none of which bear on

the class allegations at all. CHW objects to each of these class-related requests on the same

grounds: that they are unduly burdensome (though no burden is established) and that CHW cannot

comply without suffering undue hardship.3 These objections are unsupported by any facts or other

evidence and amount to improper attempts to block the Plaintiffs from evidence they need to

satisfy the requirements of Rule 23. The only hardship CHW ostensibly would suffer is having to

participate in discovery, which is insufficient.

        To be sure, Plaintiffs' counsel offered to resolve such objections by proposing to postpone

the actual identification of class members until after certification is granted if Defendant agreed to

provide the total number of such persons that Plaintiffs have requested be identified, stipulate that

CHW has the names and contact information for such persons and would be willing to produce the

same following class certification, and stipulate that it waives any objection to class certification

based on any absence of testimony or records from other putative class members. (See Exhibit B.)

Defendant refused this compromise, which means CHW refuses to provide any data needed to

identify class members (i.e., the people who were called where CHW obtained their leads from the

same source, and were called for the same purpose using the same equipment as the Plaintiffs), yet

also wishes to retain the ability to object to class certification based on Plaintiff's supposed inability

to identify class members. The Court should see through such gamesmanship.



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 Indeed, as set forth further below, RTP No. 29 specifically asked for any documents sufficient to
substantiate any claim of undue burden in responding to any discovery request—CHW simply
objected to this request as well.
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               DEFENDANT’S RESPONSE:

       In Defendant’s view, many of Plaintiffs’ discovery demands which purport to seek class

discovery are misguided, vexatious, and designed solely to harass CHW. The Complaint presents

two discrete issues:

       1) Whether Plaintiff Reynolds revoked her prior consent to be called by
          Defendant, and whether Defendant failed to comply with that request in a
          reasonable time; and

       2) Whether Plaintiff High did or did not consent to be called by Defendant, despite
          the documents in CHW’s possession showing that she did.4

For each of these Plaintiffs, CHW produced all the documents in its possession regarding

Plaintiffs, which includes all the information they provided to CHW on its website when they

consented to be called, and a log of each call that CHW made to them. The call log shows the

result of each call in abbreviated terms. Importantly, none of the Plaintiffs’ call logs contain the

letters “DNC,” which stands for “Do Not Call.” That means that, based on Defendants’ records,

neither of these Plaintiffs ever requested not to be called again by Defendants.

       Now, in discovery, Plaintiffs have put forth a plethora of exhaustive and overly

burdensome discovery demands regarding every single person that Defendant ever called that

consented to be called in the same manner that Plaintiffs did (i.e., by requesting a quote on

Defendant’s website, which they can only do if they agree to language that expressly authorized




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  In response to Defendant’s request for admissions, High admitted that all the personal
information that she submitted on CHW’s website was accurate, but she inexplicably denied
requesting a quote on CHW’s website, which is the only way CHW could obtain that information.
Recently, in response to Defendants’ interrogatories, High now ambiguously claims that she did
not contact CHW “proactively.” This is one of the multitudes of vague and insufficient responses
Plaintiffs’ counsel agreed to clarify. Once this matter is clarified, it may and should render High’s
claim that she never consented to be called entirely moot.
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Defendant to call them by phone).          Accordingly, Plaintiffs claim this is necessary “class

discovery.” It is not.

        In order to constitute class discovery, the discovery sought must be necessary to

demonstrate that Plaintiffs meet the requirements of Federal Rule 23. Here, none of the so-called

class discovery that Plaintiffs seek has any bearing on the Federal Rule 23 requirements. For

Reynolds’ claims, these documents have no bearing on whether she or others were called after

they claimed to revoke their consent. The records merely document the time of the calls, and the

result. If the result is DNC, CHW does not initiate another call.

        Underscoring the irrelevance of these records, and the inappropriateness of class

certification in general, it is well settled that the current interpretation of “consent revocation” for

the purposes of the TCPA is that consumers can revoke consent “using any reasonable method

including orally or in writing,” which is a totality of circumstances analysis. See In re Rules &

Regulations Implementing the Telephone Consumer Protection Act of 1991, 30 F.C.C. Rcd. 7961,

7996 (July 10, 2015). Accordingly, the adjudication of this issue is a highly fact specific inquiry

that cannot be resolved by generalized proofs like those Plaintiffs seeks.

        For High’s claims, which are even more tenuous because the records show she consented

to be called, nothing in CHW’s records have any bearing on her claim that she did not. In fact,

had she not consented to be called, CHW would have had no way of obtaining the personal

information she submitted, which not only included her name, number and location, but also the

specific products of CHW that she was interested in purchasing.

        Accordingly, Plaintiffs’ request for additional documents under the guise of “class

discovery” is nothing but a meritless and misguided fishing expedition designed solely to harass

and unduly burden Defendant.



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               2.      CHW’s refusal to make its dialing equipment available for inspection or
                       to provide documents sufficient to identity its dialing equipment’s
                       functionality (Rtp. Nos. 14, 33).

       CHW also refuses to allow Plaintiffs to inspect its dialing equipment used to make the calls

in this case. A critical element in this TCPA lawsuit asks whether CHW placed the calls at issue

using an automatic telephone dialing system ("ATDS"). Indeed, CHW moved to stay based on the

assertion that the D.C. Circuit is anticipated to at some point this year issue a key ruling on the

definition of an ATDS and whether it covers CHW's equipment. To determination whether CHW's

equipment qualifies under any definition, Plaintiffs need to review and inspect the dialer that CHW

used. Despite this, CHW has yet to produce user or instructional manuals for its dialing equipment

(which CHW claims is Avaya IP Office) and refuses to allow Plaintiffs’ counsel and their expert

to inspect the equipment. CHW offers no grounds for denying such an inspection. Rule 34 allows

for the inspection of tangible things—the dialing equipment plainly qualifies. As such, and absent

a stipulation from CHW that its dialing equipment constitutes an ATDS under the TCPA, an

inspection of the dialing equipment is wholly appropriate and necessary.

               DEFENDANT’S RESPONSE:

       Plaintiffs’ request, presented as a document request, that it be allowed to enter CHW’s

private property and inspect its private and proprietary property in New Jersey is entirely

inappropriate, particularly at this stage in this litigation. Not only would an inspection by lawyers,

and presumably experts, create a severe and unnecessary disruption to CHW’s business, Plaintiffs

have set forth no evidence whatsoever that such an inspection is necessary, or that they cannot

obtain the information they seek through other less intrusive forms of discovery, such as

interrogatories, document requests, or depositions. In fact, Plaintiffs have not introduced and




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admittedly do not have a shred of evidence to suggest that CHW uses a so-called “auto dialer,”

which is the only reason they seek an inspection.

       Not only is this overly intrusive request nothing but a fishing expedition, but the numerous

less intrusive methods of discovery are not even complete. Thus far, CHW has already responded

to Plaintiffs’ request for the names of its calling equipment and sales software and, during the

parties’ meet-and-confer, agreed to supplement its production with any user manuals for this

equipment in its possession or, if it has none, direct Plaintiffs to where such information can be

found online.

       Moreover, even when other discovery is complete, such an inspection should only be

considered if Plaintiffs were able to somehow prove Defendant provided them with inaccurate

information, which needed to be cross-referenced with an inspection.

       Further, Plaintiffs did not even serve a proper notice of discovery and inspection pursuant

to Rule 34, and instead included its demand to inspect CHW’s equipment (i.e., computers and

software systems) in its document requests.

                3.    Additional discovery issues on which the Parties remain at-issue.

       As stated above, while the parties continue to meet-and-confer and will be exchanging

supplemental responses in an attempt to cure certain of the deficiencies identified and discussed

during their meet and confer, the parties have also confirmed that they are at issue on (and need

the Court's determination regarding) the following requests:

   •   Request to Produce No. 20: This request seeks Documents supporting CHW’s assertion, if

       any, that Plaintiffs are inadequate to serve as Class Representatives. This is plainly relevant

       for Rule 23 purposes. CHW should produce such documents without delay or confirm that

       no such responsive documents exist.



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           DEFENDANT’S RESPONSE: Defendant has yet to determine what, if any,

    documents bear on Plaintiffs’ adequacy as class representatives other than those already

    produced. The reasons it cannot fully make this determination is because Defendant has

    yet to receive any semblance of adequate discovery from Plaintiffs, nor have there been

    any depositions. Accordingly, this request is simply premature. Once Plaintiffs’ counsel

    cures the multitude of deficiencies in its discovery responses, and depositions are

    conducted, then Defendant will be in an adequate position to assess what, if any, documents

    are responsive to this request. This request is improper as written because it requires the

    responding party to make a subjective determination as to what documents have a bearing

    on Plaintiffs’ claims that they are adequate class representatives, and thus, the request is

    ambiguous. Accordingly, all of the Documents supporting this contention would be in

    either Plaintiffs’ possession, custody, or control, or in the public domain. As such, CHW

    will supplement and produce any documents that come into its or its attorneys’, possession,

    custody, or control supporting this contention.

•   Request to Produce No. 26: This request seeks Documents supporting CHW’s assertion, if

    any, that Plaintiffs’ counsel are inadequate to serve as Class Counsel. This is also relevant

    for Rule 23(a)(4) purposes. CHW should produce such documents without delay or state it

    doesn’t contend Plaintiffs’ counsel are inadequate or that no such documents are currently

    in its possession.

           DEFENDANT’S RESPONSE:                  There is no legitimate discovery dispute

    regarding this request.    First, CHW does not and would not possess any documents

    regarding Plaintiffs’ counsel, much less any documents regarding its fitness as counsel.

    Second, this request is improper because it requires the responding party to make a



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    subjective determination as to what documents have a bearing on Plaintiffs’ counsels’

    fitness as counsel, and thus, the request is ambiguous. Third, any such documents would

    necessarily be in Plaintiffs’ counsels’ possession or available in the public domain. Simply

    put, Plaintiffs have no legitimate need to request from Defendant information regarding its

    own counsels’ fitness as counsel. Finally, it is Plaintiffs’ counsels’ burden to demonstrate

    its own fitness as counsel, not Defendants to prove otherwise. To that end, Defendant,

    hereby requests that Plaintiffs’ counsel be ordered to produce:

           1. All Documents that Plaintiffs’ counsel intends to introduce to support
              the contention that they would be adequate counsel for the purported
              classes in this matter.

           2. Each court or judicial opinion in which a determination was made
              regarding the adequacy of Plaintiffs’ counsel serving as counsel to a
              purported class of plaintiffs.

           3. Documents sufficient to identify each matter in which the adequacy of
              Plaintiffs’ counsel to serve as class counsel was challenged by one or
              more of the defendants therein.

•   Request to Produce No. 29: This request seeks Documents supporting CHW’s supposed

    undue burden in responding to Plaintiffs’ discovery requests. CHW has made a boilerplate

    burdensome objection to essentially every request. It should either withdraw those

    objections or provide documents substantiating its claims of undue burden.

    Put simply, given the "thin" nature of Defendant's responses to date (7 total pages

    combined with objections that violate the plain language of this Court's express Orders

    regarding privilege logs and rolling productions), CHW should be compelled to provide

    complete responses to the above without further delay.

           DEFENDANT’S RESPONSE: As Defendant explained to Plaintiffs’ counsel,

    this request is improper because:



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       (1) it does not seek documents relevant to the claims and defenses in this case;

       (2) the parties are currently meeting and conferring regarding the scope of
           necessary discovery, which may render moot many, if not all of, Defendant’s
           over burdensome objections; and

       (3) as a result, Defendant has yet to search for or compile specific documents to
           address these issues.

Suffice it to say, if Defendant intends to rely on specific documents to support an over-burdensome

objection, such documents will be provided in a timely manner. Further, as discussed with counsel

during its meet and confer, aside from the overly broad discovery that Plaintiffs seeks, CHW is

not presently withholding any documents based on its objections or any purported privilege.

Accordingly, any discussion regarding Request to Produce No. 29 and CHW’s objections does not

require the Court’s attention at this juncture.

       B.      DEFENDANT'S POSITION

               1.      Plaintiffs’ Refusal to Conduct a Search for and Produce Documents
                       Relevant to this Action

       Plaintiffs refused to respond to Defendant’s Document Requests Nos. 4, 6-11 on the flawed

premise that documents evidencing communications between the Plaintiffs’ and various third-

parties regarding CHW and the allegations the Complaint are not relevant to the action. See

Defendant’s March 6, 2018 Discovery Deficiency Letter, attached hereto as Exhibit C. Naturally,

all non-privileged communications that relate to this action must be searched for and produced,

regardless of whether they communications with third parties. Such communications could be

exceedingly relevant to a variety of issues, including, but not limited to:

       1) Whether Plaintiffs’ claims are bona fide;

       2) Whether Plaintiffs requested quotes on CHW’s website merely to create a
          predicate for suit;

       3) Whether Plaintiffs were truly interested in CHW’s products; and

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       4) Whether the allegations in the Complaint are consistent or inconsistent with
          statements Plaintiffs made to third parties.

This is obviously not an exhaustive list. But it should make clear that Plaintiffs have no legitimate

basis not to search for or produce these documents if they intend to proceed with this litigation.

               PLAINTIFFS’ RESPONSE

       CHW appears to be on a fishing expedition. Without any evidence to suggest that this case

is some type of fabrication at all, and no description of what constitutes "bona fide", CHW

demands any communications either Plaintiff may have had with any third parties. No

communications with third parties bear at all on whether CHW's website was sufficient under the

TCPA to secure prior express written consent. This Court should refuse CHW's request to be

permitted access to such overbroad communications that bear no relation on the claims or defenses.

               2.      Plaintiffs’ Boiler Plate Objections to CHW’s Document Requests

       While Plaintiffs have agreed to supplement many of their responses, they have not agreed

to withdraw their numerous boilerplate objections, including their objections that the requests are

“vague, overbroad, and [are] premature,” despite then representing that documents will be

produced. (See Document Request Nos. 1-3, 5, 16-18, 21, 22). Plaintiffs must produce documents

responsive to these requests, as well as the requests noted above, as the documents requested are

undeniably relevant to the action. Accordingly, Plaintiffs must confirm—that all responsive

documents have been produced and that none are being withheld based on any purported privilege,

or any of the boilerplate objections interposed.

       PLAINTIFFS’ RESPONSE: Defendant has made, and refuses to withdraw, its own

boiler-plate objections. Plaintiffs will be producing supplemental documents. Plaintiff raised




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specific objections to each of Defendant's requests. This appears to simply be an effort by CHW

to raise another issue.

                                           Respectfully Submitted,


                                           DIANA REYNOLDS AND SANDRA HIGH,
                                           individually and on behalf of all others similarly
                                           situated,

Dated: March 16, 2018                      /s/ Patrick H. Peluso

                                           One of Plaintiff’s Attorneys


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                                        **Pro hac vice application to be filed




                                        DEFENDANT CHW GROUP INC.,


Dated: March 16, 2018             By:     /s/ Andrew J. Urgenson
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